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10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               CR No. 20-289-MWF

13             Plaintiff,                    ORDER CONTINUING TRIAL DATE AND
                                             FINDINGS REGARDING EXCLUDABLE TIME
14                    v.                     PERIODS PURSUANT TO SPEEDY TRIAL
                                             ACT
15   MICAH TILLMON,
                                             TRIAL DATE: February 9, 2021
16              Defendant.

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18        The Court has read and considered the Stipulation Regarding
19   Request for (1) Continuance of Trial Date and (2) Findings of
20   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
21   parties in this matter on July 29, 2020.        The Court hereby finds that
22   the Stipulation, which this Court incorporates by reference into this
23   Order, demonstrates facts that support a continuance of the trial
24   date in this matter, and provides good cause for a finding of
25   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
26        The Court further finds that: (i) the ends of justice served by
27   the continuance outweigh the best interest of the public and
28   defendant in a speedy trial; (ii) failure to grant the continuance
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 1   would be likely to make a continuation of the proceeding impossible,

 2   or result in a miscarriage of justice; and (iii) failure to grant the

 3   continuance would unreasonably deny defendant continuity of counsel

 4   and would deny defense counsel the reasonable time necessary for

 5   effective preparation, taking into account the exercise of due

 6   diligence.

 7        THEREFORE, FOR GOOD CAUSE SHOWN:

 8        1.      The trial in this matter is continued from September 15,

 9   2020, to February 9, 2021, at 8:30 a.m.

10        2.      The time period from the date of this order to February 9,

11   2021, inclusive, is excluded in computing the time within which the

12   trial must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A),

13   (h)(7)(B)(i), and (B)(iv).

14        3.      Nothing in this Order shall preclude a finding that other

15   provisions of the Speedy Trial Act dictate that additional time

16   periods are excluded from the period within which trial must

17   commence.    Moreover, the same provisions and/or other provisions of

18   the Speedy Trial Act may in the future authorize the exclusion of

19   additional time periods from the period within which trial must

20   commence.

21        IT IS SO ORDERED.

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23     July 30, 2020
      DATE                                    MICHAEL W. FITZGERALD
24                                            UNITED STATES DISTRICT JUDGE
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